             Case 2:17-cr-00234-TLN Document 153 Filed 07/13/20 Page 1 of 3


     The Law Office of Olaf W. Hedberg
1    Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 301
2    Sacramento, California 95814
     (916) 447-1192 office
3    ohedberg@yahoo.com
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8
          IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF
9
                                             CALIFORNIA
10

11

12                                                   Case Number: 2:17-CR-234 TLN
     THE UNITED STAES OF AMERICA,
13                                                   STIPULATION AND ORDER
     V.
14                                                   DATE: July 16, 2020
     PATRICK BOTELLO.                                TIME: 9:30 am
15                                                   DEPT: TLN
16

17

18
                                            STIPULATION
19
           1. At the previous Status Conference, this matter was set for status/change of plea on
20
           July 16, 2020.
21
           2. By this stipulation, defendants now move to continue the status conference until
22
           September 3, 2020, at 9:30 a.m., and to exclude time between July 16, 2020, and
23
           September 3, 2020, under Local Code T4.
24
           3. The parties agree and stipulate, and request that the Court find the following:
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                                                    1
       Case 2:17-cr-00234-TLN Document 153 Filed 07/13/20 Page 2 of 3



1    a) The government has represented that the discovery associated with this case includes

2    over 14,000 pages and several hours of recorded telephone conversations. All of this

3    discovery has been produced directly to counsel.
4    b) Defense counsel desires additional time to review the discovery, prepare for trial in
5    this matter.
6    c) Counsel for defendants believe that failure to grant the above requested continuance
7    would deny them the reasonable time necessary for effective preparation, taking into
8    account the exercise of due diligence.
9
     d) The government does not object to the continuance.
10
     e) Based on the above-stated findings, the ends of justice served by continuing the case as
11
     requested outweigh the interest of the public and the defendant in a trial within the
12
     original date prescribed by the Speedy Trial Act.
13
     f) For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et
14
     seq., within which trial must commence, the time period of July 16, 2020, to September
15
     3, 2020, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv)
16
     [Local Code T4] because it results from a continuance granted by the Court at
17
     defendant’s request on the basis of the Court’s finding that the ends of justice served by
18
     taking such action outweigh the best interest of the public and the defendant in a speedy
19
     trial.
20
     4. Nothing in this stipulation and order shall preclude a finding that other provisions of
21
     the Speedy Trial Act dictate that additional time periods are excludable from the period
22
     within which a trial must commence.
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              Case 2:17-cr-00234-TLN Document 153 Filed 07/13/20 Page 3 of 3



1           IT IS SO STIPULATED.

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3
     Dated: July 9, 2020                              MCGREGOR W. SCOTT
4
                                                      United States Attorney
                                                      /s/ JUSTIN L. LEE
5                                                     JUSTIN L. LEE
                                                      Assistant United States Attorney
6

7

8    Dated: July 9, 2020                              ___/s/ Olaf W. Hedberg
                                                          Olaf W. Hedberg
9                                                     Attorney for Patrick Botello
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11
                                   FINDINGS AND ORDER
12

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            IT IS SO FOUND AND ORDERED.
14
     DATED: July 10, 2020
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17                                                 Troy L. Nunley
                                                   United States District Judge
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